

ON PETITION FOR REHEARING EN BANC

ORDER:
Treating the petition for rehearing en banc as a petition for panel rehearing, the petition for panel rehearing is DENIED. The court having been polled at the request of one of its members, and a majority of the judges who are in regular active service and not disqualified not having voted in favor (Fed R.App. P. and 5th Cir. R. 35), the petition for rehearing en banc is DENIED.
In the en banc poll, five judges voted in favor of rehearing (Judges Jolly, Jones, Smith, Clement, and Owen), and nine judges voted against rehearing (Chief Judge Stewart and Judges Davis, Dennis, Prado, Elrod, Southwick, Haynes, Graves, and Higginson).
